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                                                              U.S. WST:;cf COURT
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                 IN THE UNITED STATES DISTRICT COURT FOi6M? v I             rn   ,.
                    THE SOUTHERN DISTRICT OF GEORGIA         '
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                            SAVANNAH DIVISION
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UNITED STATES OF AMERICA               )

V   .                                         CASE NO. CR415-204

TIMECKA GREEN,

        Defendant.


                                  ORDER

        Before the Court is Defendant's Motion in Limine. (Doc.

69.) In the motion, Defendant requests that the Court order the

Government to identify all the calls which it intends to

introduce relating to Defendant and her daughter, prohibit the

admission of Defendant's prior misdemeanor and felony

convictions in the Government's case in chief, and prohibit the

admission of Defendant's prior convictions for impeachment

purposes during cross examination. (Id.) For the following

reasons, Defendant's Motion in Limine is GRANTED IN PART, DENIED

IN PART, and DEFER1ED IN PART.

                                   ANALYSIS

I. DEFENDANT'S PHONE CALLS

        The Government has indicated its intent to introduce

evidence of certain phone calls made by Defendant. (Doc. 55 at

1.) In these phone calls, Defendant allegedly attempted to

influence others to influence her daughter, a child witness, to
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change her story. (Id.) Defendant has requested that the

Government identify which calls it intends to play in court and

that, if the calls are admissible, the Court require the

Government to play these calls in their entirety pursuant to

Federal Rule of Evidence 106. (Doc. 69 at 2.) Given the alleged

number of calls Defendant made, the Government is            DIRECTED to

disclose which phone calls it intends to play in Court and

submit a transcript of those phone calls to the Defendant and

the Court no later than the close of business on Monday, May 16,

2016. Once Defendant has reviewed these calls, she may file, no

later than Thursday, May 19, 2016 a motion in limine detailing

her objections to the calls. The Court DEFERS ruling on whether

the Government is required to play the phone calls in their

entirety pursuant to Federal Rule of Evidence 106 pending the

Court's review of any later motion in limine.

II. RULE 404(B) EVIDENCE OF PRIOR CRIMES

     Defendant is currently charged with one count of conspiracy

to possess with intent to distribute a mixture and substance

containing a detectable amount of cocaine and cocaine base, and

conspiracy to manufacture cocaine base; one count of possession

of cocaine with intent to distribute and possession of cocaine

base with intent to distribute; and one count of unlawful

manufacture of a mixture or substance containing a detectable

amount of cocaine base. (Doc. 1.) Defendant also has prior
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felony convictions. (Doc. 55 at 2.) She was convicted on

November 28, 2007 for one count of the sale of marijuana, one

count of the sale of marijuana near a park/housing project, and

two counts of use of a communication facility in a drug

transaction. (Id.) Defendant also has two misdemeanor marijuana

convictions that were entered on the same date. (Id.) The

Government has noticed its intent to introduce evidence of these

prior felony convictions to show Defendant's knowledge and

intent. (Id.)

     Generally, "evidence of a crime, wrong, or other act is not

admissible to prove a person's character in order to show that

on a particular occasion the person acted in accordance with the

character." Fed. R. Evid. 404(b). However, such evidence is

admissible when introduced "for another purpose, such as proving

motive, opportunity, intent, preparation, plan, knowledge,

identity, absence of mistake, or lack of accident." Id. Rule

404(b) evidence must "(1) be relevant to an issue other than the

defendant's character; (2) be proved sufficiently to permit a

jury determination that the defendant committed the act; and (3)

be of probative value that is not substantially outweighed by

undue prejudice and meet the other requirements under Fed. R.

Evid. 403." United States v. Patrick, 536 F. App'x 840, 842

(11th Cir. 2013) (citing United States v. Jernigan, 341 F.3d

1273, 1280 (11th Cir. 2003)). Defendant agrees that the first

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prong of this test is satisfied. (Doc. 69 at 4.) Defendant notes

that the second prong is also likely satisfied.' (Id.) However,

Defendant contends that the probative value of Defendant's prior

convictions is substantially outweighed by the likelihood of

undue prejudice. (Id. at 5.)

      Generally, the determination of whether the probative value

of Defendant's prior crimes is substantially outweighed by undue

prejudice requires a "common sense assessment of all the

circumstances surrounding the extrinsic offense, including

prosecutorial need, overall similarity between the extrinsic act

and the charged offense, as well as temporal remoteness." United

States v. Calderon, 127 F.3d 1314, 1332 (11th Cir. 1997)

(citations omitted). The Court is satisfied that the probative

value of Defendant's prior convictions is not substantially

outweighed by undue prejudice. While Defendant's previous

convictions are for marijuana rather than cocaine, prior drug

related convictions are relevant in this case. See United States

V.   Lampley, 68 F.3d 1296, 1300 (11th Cir. 1995) (marijuana

convictions admissible in cocaine deal despite "differing nature


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  The Government contends that "[clopies of the convictions were
previously provided in discovery and outlined in the United
States Probation, Pre-trial Services Report." (Doc. 55 at 2.)
However, Defendant's counsel states that he has only received
the criminal history report rather than copies of convictions.
(Doc. 69 at 4.) Accordingly, the Government is DIRECTED to
provide copies of the convictions to Defendant's counsel no
later than the close of business on May 16, 2016.
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and remoteness in time"); see also United States v. Delgado, 56

F.3d 1357, 1366 (11th Cir. 1995)        ("[W]hen other crimes evidence

goes to intent rather than identity a lesser degree of

similarity between the charged crime and the uncharged crime is

required."). Second, the fact that the Government can introduce

evidence of Defendant's knowledge or intent through Defendant's

coconspirators does not preclude the Government from introducing

additional evidence of prior crimes at trial. See Calderon, 127

F.3d at 1332 (allowing government to introduce prior crimes

evidence because case rested on testimony of coconspirator

witnesses whose credibility was questionable)

     Finally, Defendant argues that the prior convictions are

too remote in time to be probative. There is no "bright-line

rule regarding temporal remoteness." United States v. Patrick,

536 F. App'x 840, 843 (11th. Cir. 2013) (citing United States v.

Matthews, 431 F.3d 1296, 1311 (11th Cir. 2005)). In this case,

the amount of time between Defendant's prior crimes and the

instant offense is less than ten years. This time period does

not militate against the evidence's probative value considering

the similarity of the prior crimes and the instant offenses.

Accordingly, Defendant's motion as to the Government's Rule

404(b) evidence is DENIED.




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III. RULE 609 EVIDENCE FOR IMPEACHMENT

      The Government has also made a request to introduce

 Defendant's prior felony and misdemeanor convictions, along with

 an additional obstruction of justice charge, for impeachment

 purposes. (Doc. 55 at 3.) Federal Rule of Evidence 609 allows

 the admission of prior crimes, if punishable by death or for

 imprisonment for more than one year, to attack a witnesses'

 character for truthfulness. In a criminal case, the evidence may

 be admitted "if the probative value of the evidence outweighs

 its prejudicial effect to that defendant." Fed. R. Evid. 609(b).

 If the crime was not punishable by death or by imprisonment for

 more than one year, it may be admitted "if the court can readily

 determine that establishing the elements of the crime required

 proving—or the witness's admitting—a dishonest act or false

 statement." Id.

      As discussed above, the probative nature of Defendant's

 four prior felony convictions is not substantially outweighed by

 its prejudicial effect. The Government may admit them during

 cross examination for impeachment. However, there is no evidence

 that Defendant's two prior misdemeanor convictions for marijuana

 involved proof or admission of a dishonest act or false

 statement. See United States v. Wailer, 2016 WL 1746057, at *2_

 *3 (N.D. Ga. 2016) (unpublished) (denying admission of

 misdemeanor convictions because it did not involve dishonest or

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false statement) . As a result, the misdemeanor drug convictions

may not be admitted during cross examination for impeachment

purposes. However, the Court notes that this ruling does not

prohibit their admission for any other purpose. As discussed

above, the Government may introduce evidence of these two

misdemeanors for other purposes such as knowledge or intent.

Finally, Defendant's conviction for obstruction of justice falls

outside the ten year window of Rule 609(b). (Doc. 55 at 3.)

While such a conviction would generally be admissible if within

the ten year window, 2 here the Court must determine whether the

conviction's "probative value, supported by specific facts and

circumstances, substantially outweighs its prejudicial effect."

Fed. R. Evid. 609 (b) (1). Here, there is no evidence that the

probative value of Defendant's prior conviction substantially

outweighs its prejudicial effect. Accordingly, Defendant's

Motion in Limine as to the Rule 609 evidence is GRANTED IN PART

and DENIED IN PART. The Government may not admit evidence of the




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  See Fed. R. Evidence 609 (a) (2) advisory committee's note to
2006 amendment, ("Evidence of crimes in the nature of crimina
falsi must be admitted under Rule 609(a) (2), regardless of how
such crimes are specifically charged. For example, evidence that
a witness was convicted of making a false claim to a federal
agent is admissible under this subdivision regardless of whether
the crime was charged under a section that expressly references
deceit (e.g., 18 U.S.C. § 1001, Material Misrepresentation to
the Federal Government) or a section that does not (e.g., 18
U.S.C. § 1503, Obstruction of Justice).").
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marijuana misdemeanors and obstruction charge at trial for

purposes of impeachment.

                               CONCLUSION

     For the foregoing reasons, Defendant's motion in limine is

GRANTED IN PART, DENIED IN PART, and DEFERRED IN PART.

               SO ORDERED this     //J-day of May 2016.




                                  WILLIAM T. MOORE, JR.
                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF GEORGIA
